                   Exhibit 4




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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           No. 1:20-cv-00613-CCE-LPA

NATIONAL ASSOCIATION FOR                   )
THE ADVANCEMENT OF                         )
COLORED PEOPLE ALAMANCE                    )
COUNTY BRANCH, et al.                      )
                                           )
Plaintiffs,                                )
                                           )
v.                                         )
                                           )
JERRY PETERMAN, et al.,                    )
                                           )
Defendants.                                )


                       DECLARATION OF PAMELA CHESTEK

     1. My name is Pamela Chestek, I am a resident of Wake County and a member of the
        North Carolina Bar (NC Bar No. 40963). I am over the age of eighteen and am
        competent to provide the information that follows based upon my personal
        knowledge.

     2. On August 1, 2020, I served as a Legal Observer at the Courthouse Square in
        downtown Graham, North Carolina from approximately 11:30am to 3:15pm. I
        later drove by the same location at 3:45pm. Legal Observers are not
        demonstrators or protestors, but objective observers who document what they
        observe at demonstrations. The following four photographs are ones I took which
        accurately and fairly represent what I saw on August 1, 2020. I took the first photo
        when I arrived. It shows the north side of the Courthouse grounds, which was
        taped off, with sawhorses blocking pedestrian access to the pedestrian area behind
        and on the west side of the monument:




                                               1



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3. The above photo shows demonstrators later in the afternoon protesting the
   Confederate monument, racism and police brutality in the taped-off area that
                                        2



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   Sheriff personnel restricted them to on August 1, 2020. Soon after I arrived, a bit
   before noon, I saw just one individual, wearing a white T-shirt with a photo of the
   Confede a e a e and he a emen I no coming do n, in the taped-off area
   when there was only one protester there. The pro-Confederate individual talked to
   the deputy for a few minutes and then left the area. He did not interact with the
   protester.




4. I ook he abo e ho o f om he e ide of he Co ho e no h e . She iff
   personnel did not allow protestors any access to these steps, nor (as shown in the
   below photo) the area in front of the steps and beside the monument.

5. In the 3 1/4 hours I was present, I saw a maximum of eighteen anti-racist
   protestors (not all there at the same time) including five children. One protestor
   tried to use the crosswalk at North Main to cross over to the monument, but was
   reprimanded by a Sheriff deputy for going around the sawhorse that was blocking
   off the sidewalk and ducking under the tape.




                                        3



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6. I took the above photo showing the blocked access to the pedestrian area between
   the Courthouse and the monument (the metal fence on the left side of the photo
   surrounds the monument). There were protestors opposing the monument on both
   sides of the restricted, taped off area.

7. I saw only a few (six or seven) pro-Confederate people in the time I was there and
   they were not all in a group. Some walked around across the street, one circled the
       a e in a ehicle i h a la ge Confede a e ba le flag hanging o he d i e
   window, and a few sat at the hair salon across the street from the monument.

8. I saw no violence nor threat of violence between the protestors and the pro-
   Confederates. I did witness a Sheriff deputy threaten to arrest one anti-racist
      o e o fo ing he f o d in a chan ha en : 1, 2, 3, 4, 5, 6, 7, 8, 9, 10,
   11, f---- 12! I al o i ne ed a She iff de       ge ic la e a he an -racist
   protestors in a mocking manner. And I witnessed Sheriff deputies prohibit the
   protestors from crossing over the taped off and barricaded areas.



                                         4



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9. I left at about 3:15 when the protesters were leaving the site. I drove by at around
   3:45pm and there were no protestors at the site.

   I declare under penalty of perjury that the foregoing is true and correct. Executed
   on August 11, 2020.
                               /s/ Pamela Chestek___________________
                               Pamela Chestek




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